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 1   Counsel Listed on Signature Page
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12                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
13                                  SAN JOSE DIVISION
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     FEDERAL TRADE COMMISSION,                Case No. 5:17-cv-00220-LHK-NMC
16                        Plaintiff,
                                              JOINT CASE MANAGEMENT
17                 vs.                        STATEMENT
18   QUALCOMM INCORPORATED, a Delaware
     corporation,                             DATE:    September 12, 2018
19                                            TIME:    2:00 p.m.
                          Defendant.          CTRM:    Courtroom 8
20                                            JUDGE:   Hon. Lucy H. Koh
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                                                         JOINT CASE MANAGEMENT STATEMENT
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 1            Pursuant to the Court’s July 20, 2018 Order Continuing Further Case Management

 2   Conference (ECF No. 783), Plaintiff Federal Trade Commission (the “FTC”) and Defendant

 3   Qualcomm Incorporated (“Qualcomm”) (collectively, the “Parties”) have met and conferred and

 4   hereby submit this Joint Case Management Statement, which reports on developments since the

 5   Parties filed the July 18, 2018 Joint Case Management Statement (ECF No. 780).

 6   I.       EXPERT DISCOVERY

 7            On July 26, 2018, Plaintiff FTC served four rebuttal expert reports. Between August 2,

 8   2018, and August 16, 2018, the Parties completed expert depositions.

 9   II.      PLEADINGS AND MOTIONS

10            On August 30, 2018, Plaintiff FTC filed the following motions: (i) to exclude portions of

11   Qualcomm proposed expert Dr. Edward A. Snyder’s testimony under Federal Rule of

12   Evidence 702 and Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993); (ii) to exclude,

13   under Federal Rule of Evidence 403, certain portions of Qualcomm proposed expert Professor

14   Aviv Nevo’s testimony; and, (iii) for partial summary judgment that Defendant Qualcomm

15   Incorporated’s licensing commitments to the Alliance for Telecommunications Industry Solutions

16   (“ATIS”) and the Telecommunications Industry Association (“TIA”) require Qualcomm to make

17   licenses to its covered standard-essential patents (“SEPs”) available to rival sellers of modem

18   chips.

19            On August 30, 2018, Defendant Qualcomm filed the following motions: (i) to exclude

20   certain opinions of FTC proposed expert Dr. Robert Akl pursuant to Federal Rule of Civil

21   Procedure 26(a)(2)(D)(ii); and (ii) to exclude the opinions and testimony of FTC proposed expert

22   Richard Donaldson pursuant to Federal Rules of Evidence 702 and 703 and Daubert v. Merrell

23   Dow Pharms., Inc., 509 U.S. 579 (1993).

24            Oppositions to these motions are due September 24, 2018, and replies are due October 4,

25   2018. A hearing on the motions is set for October 18, 2018, at 1:30 p.m. (Case Management

26   Order, ECF No. 678.)

27   III.     PRE-TRIAL SCHEDULE

28            On August 28, 2018, the FTC requested that Qualcomm identify any individuals


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 1   (including both employees and former employees) represented at deposition by Qualcomm’s

 2   counsel who Qualcomm is unable to make available for trial. On August 29, 2018, Qualcomm

 3   indicated that as a general matter it expects to be able to make current employees available for

 4   trial, and requested that the FTC narrow its inquiry as to former employees. The FTC identified

 5   eight former Qualcomm executives on whom to focus in the first instance.

 6          On August 29, 2018, the Parties met and conferred regarding possible acceleration or

 7   amendment of some of the deadlines for the Parties to exchange information and materials called

 8   for in the Court’s Guidelines for Final Pretrial Conferences in Bench Trials (hereinafter,

 9   “Standing Order”). The Parties agree in principle that modification of deadlines for the exchange

10   of certain information may further the Parties’ efforts to engage in an efficient pre-trial and trial

11   process. The Parties have exchanged proposals and agreed to continue discussing such proposed

12   modifications.

13          In order to facilitate the Party’s discussions, and without prejudice to any Party’s right to

14   attempt to persuade the Court that good cause exists to adopt a particular approach in this case,

15   the Parties agreed to seek guidance from the Court relating to the following issues:

16                   Witness Testimony. The Parties have discussed exchanging witness lists and

17                    deposition designations earlier than required by the Standing Order. In connection

18                    with these discussions, the Parties respectfully request the Court’s guidance as to

19                    whether, or under what circumstances, the Court would accept into evidence

20                    designated deposition testimony that is submitted solely in writing, as opposed to

21                    requiring the presentation of designated deposition testimony during the parties’

22                    trial time (e.g., by playing recorded testimony). The parties are in the early stages

23                    of trial planning and do not have specific requests to make at this time, but would

24                    appreciate any preliminary guidance that the Court may offer.

25                   Exhibit Lists. The Parties have discussed exchanging exhibit lists earlier than

26                    required by the Court’s Standing Order. The Parties request the Court’s guidance

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 1                  as to whether Paragraph D.1(a) of the Standing Order1 applies to purely

 2                  demonstrative exhibits that are not offered as substantive evidence, such as

 3                  illustrative exhibits to be used during the examination of experts. Subject to the

 4                  Court’s approval, the Parties would prefer to exchange and submit demonstrative

 5                  exhibits at times nearer to their anticipated use at trial and would meet and confer

 6                  regarding such deadlines.

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     1Paragraph D.1(a) reads: “At least 14 days before the final Pretrial Conference, the parties shall
     exchange copies of all exhibits, summaries, charts, and diagrams to be used at trial other than
28   solely impeachment or rebuttal.”

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 1   Dated: September 5, 2018
                                                Respectfully submitted,
 2

 3                                              FEDERAL TRADE COMMISSION,

 4
                                                /s/ Jennifer Milici
 5                                              Jennifer Milici
                                                Wesley G. Carson
 6                                              J. Alexander Ansaldo
 7                                              Joseph R. Baker
                                                Elizabeth A. Gillen
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                                           4                JOINT CASE MANAGEMENT STATEMENT
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15                                           Incorporated
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                                         5            JOINT CASE MANAGEMENT STATEMENT
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 1                                      FILER’S ATTESTATION

 2          I, Gary A. Bornstein, am the ECF user whose identification and password are being used

 3   to file this Joint Case Management Statement. In compliance with Civil Local Rule 5-1(i)(3), I

 4   hereby attest that the signatories on this document have concurred in this filing.

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 6                                                            /s/ Gary A. Bornstein
                                                                Gary A. Bornstein
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                                                                          Case No. 5:17-cv-00220-LHK-NMC
